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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF INDIANA
                           HAMMOND DIVISION


 ANTHONY J. MACLIN,                       )
                                          )
 Petitioner,                              )
                                          )
 vs.                                      )    NO. 2:04-CV-112
                                          )        (2:01-CR-67)
 UNITED STATES OF AMERICA,                )
                                          )
 Respondent.                              )




                             OPINION AND ORDER

       This matter is before this Court on the Petition Under 28 U.S.C.

 § 2255 to Vacate, Set Aside, or Correct Sentence By a Person in

 Federal Custody, filed by Petitioner on March 18, 2004.                  For the

 reasons set forth below, the section 2255 motion is DENIED. The Clerk

 is ORDERED to DISMISS this case WITH PREJUDICE.          The Clerk is FURTHER

 ORDERED to distribute a copy of this order to Petitioner (Prisoner No.

 06829-027) at the United States Penitentiary, P.O. Box 305, in

 Jonesville, Virginia 24263-0305, or to such other more current address

 that may be on file for the Petitioner.



 BACKGROUND

       Pro se Petitioner, Anthony Maclin, was convicted by a jury of

 conspiracy to distribute 50 grams or more of crack cocaine, in
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 violation of 21 U.S.C. sections 846 and 841(a)(1) (Count One),

 distributing 50 grams or more of crack cocaine, in violation of

 section 841(a)(1) (Count Two), and distributing 5 grams or more of

 crack cocaine, in violation of section 841(a)(1) (Count Three).

 Following a sentencing hearing on September 16, 2002, Petitioner was

 sentenced to life terms of imprisonment on each of Counts One and Two,

 plus another 262 months of imprisonment on Count Three, all to run

 concurrently.

         Petitioner filed a notice of appeal to the Seventh Circuit, and

 his appointed appellate counsel sought to withdraw under Anders v.

 California, 386 U.S. 738 (1967), because she was unable to find a

 nonfrivolous issue for appeal.          See United States v. Maclin, No. 02-

 3579, 2003 WL 1827211 (7th Cir. April 2, 2003).              Pursuant to Seventh

 Circuit Rule 51(b), Petitioner was invited to respond to counsel's

 motion to withdraw, but he failed to do so.            In an unpublished order,

 the Seventh Circuit dismissed Petitioner's appeal as frivolous and

 granted counsel's motion to withdraw on April 2, 2003.                   Id.

         Petitioner filed his timely section 2255 motion on March 18,

 2004.     The facts surrounding Petitioner's offenses are set forth in

 the Seventh Circuit's opinion, and the Court assumes the reader's

 familiarity with those facts.

         Petitioner's   section   2255    motion   alleges     three      grounds    of

 constitutionally ineffective assistance by trial counsel, one ground

 of constitutionally ineffective assistance by sentencing/appellate


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 counsel, and claims the Court committed an abuse of discretion during

 sentencing.     Petitioner's bases for ineffective assistance by trial

 counsel are:     (1) he failed to explain the sentence Petitioner would

 receive following a jury trial and Petitioner was unaware of the

 Government's filing of a notice of intention to apply an enhancement

 based upon the prior convictions; (2) he failed to make the Government

 produce certified judgments of conviction; and (3) he failed to object

 to   the   enhancement      of    Petitioner's       sentence     by       state   court

 convictions. With regard to Petitioner's sentencing/appellate counsel

 (a different attorney than Petitioner's trial counsel), Petitioner

 claims she provided ineffective assistance when she failed to raise

 certain    issues   on    appeal,    including     entrapment.          Finally,     the

 Petitioner     contends    that     the   Court   erred    during      sentencing     by

 considering an unrelated state arrest in calculating the amount of

 drugs Petitioner distributed.



 DISCUSSION

       Relief    under     28     U.S.C.    section       2255   is     reserved      for

 "extraordinary situations."          Prewitt v. United States, 83 F.3d 812,

 816 (7th Cir. 1996).       In order to proceed on a petition pursuant to

 28 U.S.C. section 2255, a federal prisoner must show that the district

 court sentenced him in violation of the Constitution or laws of the

 United States, or that the sentence was in excess of the maximum

 authorized by law, or is otherwise subject to collateral attack.                     Id.


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       A   section   2255   motion     is     neither   a   substitute     for    nor

 recapitulation of a direct appeal.           Id.; see also Belford v. United

 States, 975 F.2d 310, 313 (7th Cir. 1992), overruled on other grounds

 by Castellanos v. United States, 26 F.3d 717 (7th Cir. 1994).                   As a

 result:

             [T]here are three types of issues that a section
             2255 motion cannot raise: (1) issues that were
             raised on direct appeal, absent a showing of
             changed circumstances; (2) nonconstitutional
             issues that could have been but were not raised
             on direct appeal; and (3) constitutional issues
             that were not raised on direct appeal, unless the
             section 2255 petitioner demonstrates cause for
             the procedural default as well as actual
             prejudice from the failure to appeal.

 Belford, 975 F.2d at 313.        Additionally, aside from demonstrating

 "cause" and "prejudice" from the failure to raise constitutional

 errors on direct appeal, a section 2255 petitioner may alternatively

 pursue such errors after demonstrating that the district court's

 refusal to consider the claims would lead to a fundamental miscarriage

 of justice.    McCleese v. United States, 75 F.3d 1174, 1177 (7th Cir.

 1996).

       In assessing Petitioner's motion, the Court is mindful of the

 well-settled principle that, when interpreting a pro se petitioner's

 complaint or section 2255 motion, district courts have a "special

 responsibility" to construe such pleadings liberally.              Donald v. Cook

 County Sheriff's Dep't., 95 F.3d 548, 555 (7th Cir. 1996); Estelle v.

 Gamble, 429 U.S. 97, 106 (1976) (a "pro se complaint, 'however

 inartfully pleaded' must be held to 'less stringent standards than

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 formal pleadings drafted by lawyers'") (quoting Haines v. Kerner, 404

 U.S. 519 (1972)); Brown v. Roe, 279 F.3d 742, 746 (9th Cir. 2002)

 ("pro se habeas petitioners are to be afforded 'the benefit of any

 doubt'") (quoting Bretz v. Kelman, 773 F.2d 1026, 1027 n.1 (9th Cir.

 1985)).    In other words:

             The mandated liberal construction afforded to pro
             se pleadings "means that if the court can
             reasonably read the pleadings to state a valid
             claim on which the [petitioner] could prevail, it
             should do so despite the [petitioner's] failure
             to cite proper legal authority, his confusion of
             various legal theories, his poor syntax and
             sentence construction, or his unfamiliarity with
             pleading requirements."

 Barnett v. Hargett, 174 F.3d 1128, 1133 (10th Cir. 1999) (habeas

 petition from state court conviction) (alterations in original)

 (quoting Hall      v. Bellmon, 935 F.2d 1106, 1110 (10th Cir. 1991)).                On

 the other hand, "a district court should not 'assume the role of

 advocate for the pro se litigant' and may 'not rewrite a petition to

 include claims that were never presented.'"                Id.    Here, the Court

 assessed Petitioner's claims with those guidelines in mind.

       As    with    all     allegations     of    constitutionally        ineffective

 assistance of counsel, the analysis begins with the Supreme Court's

 seminal case in this area, Strickland v. Washington, 466 U.S. 668

 (1984).     See also Wiggins v. Smith, 539 U.S. 510 (2003) (analyzing

 ineffectiveness      claim    under   28    U.S.C.   §   2254).      The    test    for

 ineffectiveness claims is exacting.               To establish such a claim, a

 defendant    must    show    that   his/her      attorney's   representation        was


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 deficient, and that the deficiency prejudiced the defendant. Wiggins,

 539 U.S. at 521.

       To establish deficient performance, a defendant must demonstrate

 that counsel's representation fell below an objective standard of

 reasonableness.     Id.    This test is highly deferential to counsel,

 "presuming reasonable judgment and declining to second guess strategic

 choices."    United States v. Williams, 106 F.3d 1362, 1367 (7th Cir.

 1997) (citations omitted); see also Wiggins, 539 U.S. at 522-23

 (strategic choices are virtually unchallengeable) (citing Strickland,

 466 U.S. at 690-91).      Thus, when examining the performance prong of

 the Strickland test, a court must "indulg[e] a strong presumption that

 counsel's    conduct   falls    within   the   wide    range     of    reasonable

 assistance."    Galowski v. Berge, 78 F.3d 1176, 1180 (7th Cir. 1996)

 (internal quotes omitted).

       To establish the prejudice component of the Strickland test, a

 defendant must show a reasonable probability that, but for counsel's

 unprofessional errors, the result of the proceeding would have been

 different. Wiggins, 539 U.S. at 534. Such a "reasonable probability"

 is "a probability sufficient to undermine confidence in the outcome."

 Id.   This does not mean a petitioner must show that his attorney's

 ineffectiveness "'more likely than not altered the outcome of the

 case.'"    United States ex rel. Hampton v. Leibach, 347 F.3d 219, 246

 (7th Cir. 2003) (quoting Strickland, 466 U.S. at 693).                   Instead,

 "[e]ven if the odds that the defendant would have been acquitted had


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 he received effective representation appear to be less than fifty

 percent, prejudice has been established so long as the chances of

 acquittal    are   better   than   negligible."         Id.    (citing     Miller   v.

 Anderson, 255 F.3d 455, 459 (7th Cir. 2001), judgment modified, 268

 F.3d 485 (7th Cir. 2001)). Additionally, when examining the prejudice

 prong, a court must attach a "strong presumption of reliability" to

 the original verdict.       Kavanagh v. Berge, 73 F.3d 733, 735 (7th Cir.

 1996) (citation omitted).

       Unless a defendant satisfies both parts of the Strickland test,

 "it cannot be said that the conviction . . . resulted from a breakdown

 in the adversary process that renders the result unreliable."                  United

 States v. Fish, 34 F.3d 488, 492 (7th Cir. 1994).                   The Court has

 obviously assessed Petitioner's claims under the Strickland standards.



 Ineffective Assistance of Trial Counsel

       Whether Petitioner was Sufficiently Informed About His Sentence

       First,   Petitioner     claims    that     his   trial     counsel     provided

 ineffective    assistance     when     he     failed   to     sufficiently    inform

 Petitioner of his potential sentence and the consequences of the

 enhancement due to Petitioner's two previous convictions for drug

 offenses.    Petitioner claims he did not make an informed decision to

 reject a plea agreement with a sentence of 20 years because he "did

 not or could not even conceive that a 'life sentence' could result by

 being convicted of a common drug offense, trial or otherwise . . . ."


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 (Pet.'s Rebuttal to the Govt's Resp. in Reference to Movant's 28

 U.S.C. § 2255, p. 5.)     Petitioner also claims he felt he was deceived

 by his counsel.      Id., p. 2.

       Petitioner's claim is flatly contradicted by the record. First,

 at   the   initial   appearance   and    arraignment   on    August    1,   2001,

 Petitioner was advised that he faced a mandatory minimum sentence of

 life imprisonment on Counts One and Two.               (See Tr. of Initial

 Appearance, Ex. C, pp. 3-4.)          During that hearing, the Assistant

 United States Attorney specifically told Petitioner that he would face

 "a mandatory minimum and maximum term of life imprisonment on Count

 One" for violation of 21 U.S.C. §§ 846, 841(a)(1), specifically noting

 that "[t]he pre-sentence report indicates that this defendant has two

 prior felony drug offense convictions." Id. With regard to Count Two

 for violation of 21 U.S.C. § 841, Petitioner was advised "[b]ecause

 the defendant has two prior felony drug offense convictions, the

 mandatory term of imprisonment is life on Count Two."                 Id., p. 4.

 Regarding the third count for violation of 21 U.S.C. § 841, Petitioner

 was told that he faced "a mandatory minimum term of imprisonment of

 20 years, and a maximum term of life."         Id.

       Petitioner was again notified in open court at his detention

 hearing held on August 17, 2001, of the potential penalties.              (Tr. of

 Pretrial Detention Hr'g, Ex. D.)        At that hearing, Petitioner's trial

 counsel specifically requested that Petitioner be informed of the type

 of punishment he would face if convicted of the charges.              Id., p. 4.


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 The Assistant United States Attorney again reviewed the penalties on

 the record, stating that the mandatory minimum sentence faced by

 Petitioner on both Counts One and Two was life imprisonment. Id., pp.

 4-5.    During the pretrial detention hearing, the Assistant United

 States Attorney     also specifically mentioned that Petitioner had two

 prior drug and felony offenses, and referred to the enhancement.               Id.

 Petitioner's claims that he believed his trial counsel was deceiving

 him ring hollow in light of the fact that the Assistant United States

 Attorney twice informed Petitioner in open court of the sentence.

        Thus, the record also refutes Petitioner's claim that he lacked

 notice of the information and did not know the Government intended to

 use the prior convictions in seeking a sentencing enhancement.                  In

 accordance with 21 U.S.C. section 851(a)(1), the Government filed an

 information for sentence on September 4, 2001, notifying Petitioner

 and defense counsel that the Government intended to use two prior

 convictions to enhance the penalties if Petitioner was convicted of

 either Counts One, Two, or Three of the indictment.

        Affidavits were also submitted by the Government, in which

 Petitioner's trial counsel and the Assistant United States Attorney

 attest that they advised Petitioner that because of his two prior

 convictions, Petitioner faced a mandatory life sentence on Counts One

 and Two if he proceeded to trial.           In light of the plain statements

 made on the record, the Court need not rely on these affidavits.

 "Because of the great weight we place on these in-court statements,


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  we credit them over [Petitioner's] later claims."            United States v.

  Martinez, 169 F.3d 1049, 1054 (7th Cir. 1999).         Simply, the record is

  clear that Petitioner was advised of the mandatory minimum life

  sentence should he be found guilty at trial, and his unsupported

  assertion to the contrary cannot re-write history.

          In his rebuttal memorandum, Petitioner sets forth several new

  arguments, including but not limited to, contending it was error not

  to include a colloquy involving the enhancement under 21 U.S.C.

  section 851(b), arguing section 851 is ambiguous, asserting that

  Petitioner should have been afforded the "rule of lenity," and arguing

  that Petitioner did not openly waive prosecution by indictment of the

  prior convictions.     These arguments are raised for the first time in

  Petitioner's reply brief, accordingly, the Court will not consider

  them.     See Morrison v. Duckworth, 929 F.2d 1180, 1183 n.3 (7th Cir.

  1991).      Petitioner seems to claim that at least some of these

  arguments were timely set forth in his amendment to the section 2255

  petition, filed on August 23, 2004. However, on October 1, 2004, this

  Court denied Petitioner's motion to amend his section 2255 petition.



          Failure to Make the Government Produce Certified Judgments of
          Conviction

          Petitioner's second fault with trial counsel is that he failed

  to make the Government produce "certified judgments of conviction"

  that the Government intended to rely upon in establishing the prior

  convictions in accordance with section 851.          Nothing in the text of

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  section 851 refers to a "certified judgment of conviction." Moreover,

  Petitioner cites to no case law in support of his proposition, and he

  points to no resulting prejudice.            Petitioner does not dispute that

  he was previously convicted, therefore he can show no prejudice.

        In considering Petitioner's challenge to the use of his two prior

  felony convictions, it is important to note that in Almendarez-Torres

  v. United States, 523 U.S. 224, 244 (1998), the Supreme Court held

  that prior felony convictions were sentencing factors that need not

  be charged in an indictment nor proven beyond a reasonable doubt

  because they are not elements of the charged offense.                          Neither

  Apprendi v. New Jersey, 530 U.S. 466, 490 (2000), nor Blakely v.

  Washington,    124    S.   Ct.    2531   (2004),   disturb     that      decision     in

  Almendarez-Torres. United States v. Pittman, 388 F.3d 1104, 1109 (7th

  Cir. 2004); see also United States v. Marseille, 377 F.3d 1249, 1257

  (11th Cir. 2004) (noting that neither Apprendi nor Blakely removes the

  determination    of   prior      convictions    from    the   court      in   light   of

  Almendarez-Torres); see also United States v. Collins, 272 F.3d 984,

  987 (7th Cir. 2001) (holding defendant's status as a career offender

  was neither required to be put before the jury nor proved beyond

  reasonable doubt).

        Finally, the Government contends that a certified copy for one

  of the prior convictions was introduced into evidence at trial.

  (Resp. to 2255 Pet., p. 12.)        Petitioner has failed to establish that

  his trial counsel's representation was below an objective standard of


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  reasonableness, and he has failed to show that, but for the error,

  there is a reasonable probability that the result of the proceeding

  would have been different.        Wiggins, 539 U.S. at 534.



         Failure to Object to Sentence Enhancement

         The last assault Petitioner makes upon his trial counsel is that

  he was ineffective for failing to object to the enhancement of his

  sentence by state court convictions.           Petitioner contends that state

  convictions     may    not   be   considered    in     calculating       a   sentence

  enhancement.     Petitioner is incorrect.

         Section 841 provides that "[i]f any person commits a violation

  of this subparagraph or of section 849, 859, 860, or 851 of this title

  after two or more prior convictions for a felony drug offense have

  become final, such person shall be sentenced to a mandatory term of

  life imprisonment." 21 U.S.C. § 841 (b)(1)(A).               The Seventh Circuit

  has explicitly held that "convictions for felony drug offenses"

  include state convictions. See United States v. Graham, 315 F.3d 777,

  783    (7th   Cir.   2003)   (affirming   consideration        of   prior    Illinois

  conviction); United States v. Magana, 118 F.3d 1173, 1209-1210 (7th

  Cir.    1997)   (approving     enhancement     based    upon    two      state   court

  convictions); United States v. McAllister, 29 F.3d 1180, 1185 (7th

  Cir. 1994) (finding defendant's prior pleas of guilty to felony

  offenses under Illinois law and receipt of probation constituted

  "convictions" for sentencing enhancement purposes).


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        In support of his argument that the state convictions were

  improperly used to enhance his sentence, Petitioner cites to United

  States v. Johnson, 506 F.2d 305, 307 (1974).            In United States v.

  Hudson, the court explained why Johnson is inapplicable today:

              Under   the  1970   Comprehensive   Drug   Abuse
              Prevention and Control Act, only convictions
              based on federal law could be used to enhance a
              federal sentence. In 1984, the Act was amended
              so that section 841 currently provides that
              federal sentences may be enhanced based on prior
              federal and state convictions.

  151 F. Supp. 2d 1308, 1312 (D. Kan. 2001).          Johnson applied the pre-

  amendment version of section 841.            Of course, the post-amendment

  version   currently   in   effect    governs   Petitioner's     case.      It   is

  therefore proper to use Petitioner's prior state convictions to

  enhance his sentence.       Hudson, 151 F. Supp. 2d at 1312.                Thus,

  Petitioner's counsel had no basis to object to the consideration of

  Petitioner's previous two state court convictions in reaching his

  sentence.

        Petitioner also challenges his trial attorney's qualifications.

  Petitioner mentions that "Mr. Cantrell was not licensed under the

  American Bar Association, as required by all attorneys practicing law

  under the United States Justice System."            (2255 Pet., p. 3.)          The

  American Bar Association has a voluntary membership, and is not

  related to whether Petitioner's trial counsel was licensed to practice

  law in federal court.      Further, contrary to Petitioner's belief, the

  fact that his trial counsel omitted his attorney registration number


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  on the pleadings does not mean that counsel was not properly licensed.

  Attorney Cantrell has submitted an affidavit, attesting that he was

  indeed licensed to practice in the United States District Court for

  the Northen District of Indiana since June 6, 2001, including during

  the trial in this case.        (Cantrell Aff. ¶ 1 (Ex. E).)               Based upon

  Attorney Cantrell's affidavit and Exhibit A thereto (a certificate of

  admittance    to   the   Northern    District    of   Indiana),    this       Court   is

  convinced of Attorney Cantrell's good standing at the time of this

  trial   and   declines    Petitioner's    request     to   conduct      any    further

  investigation.

        In his reply, Petitioner then criticizes his counsel for being

  "inexperienced." (Pet.'s Rebuttal to the Gov'ts Resp. in Reference to

  Movant's 28 U.S.C. § 2255, p. 4.)        As an argument raised for the first

  time in Petitioner's reply brief, the Court refuses to consider this

  criticism.    Morrison, 929 F.2d at 1183 n.3.         The Court notes, however,

  that Petitioner has failed to establish any prejudice he suffered

  resulting from his attorney's alleged lack of experience.

        Finally, Petitioner argues that his trial counsel's discharge

  after the trial is evidence of ineffective assistance of counsel.                     To

  the contrary, in the hearing held on March 29, 2002, in which this

  Court granted Petitioner's request to discharge his counsel, the Court

  specifically noted that Petitioner had not proven that his trial

  counsel did not do a complete job.            (Minute Entry, March 29, 2002.)

        Given the high degree of deference the Court accords to trial


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  counsel's actions, the Court cannot say that Petitioner was deprived

  of effective assistance of counsel at the trial stage. Petitioner has

  failed to establish both prongs of Strickland - Petitioner has not

  shown    that   his     trial   counsel's   choices     fell    below     an   objective

  standard of reasonableness, and he has failed to further establish

  that but for the alleged deficient performance, there is a reasonable

  probability      that    the    trial   would   have    turned    out     differently.

  Strickland, 466 U.S. at 688, 693-94.              The Court therefore rejects

  Petitioner's ineffective assistance of counsel claim as it relates to

  trial counsel.



  Ineffective Assistance of Sentencing/Appellate Counsel

        Petitioner has two main arguments relating to his sentencing/

  appellate counsel.         First, he contends that, despite his request,

  counsel failed to appeal his sentence based upon the Court's alleged

  improper consideration of the amount of drugs Petitioner delivered in

  an unrelated incident in Calumet City, Illinois.                 Second, Petitioner

  contends that, despite his request, counsel failed to argue the

  defense of entrapment in Petitioner's direct appeal.



        Failure to Appeal Consideration of Allegedly Unreleated
        Drug Sale at Sentencing

        Petitioner argues that his appellate counsel should have included

  as   a   basis    for     appeal    that    "[t]he      court    during        sentencing

  impermissibly counted unindicted conduct related to a Calmet [sic]

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  Illinois arrest, where the petitioner, at the time of sentencing was

  not convicted of 'attempting to distribute 208.8 grams of crack

  cocaine.'"    (2255 Pet., p. 5.)

          According to the Seventh Circuit's findings, Petitioner was

  arrested in Calumet City in March 2001 during an undercover buy of 220

  grams of crack cocaine.       Maclin, 2003 WL 1827211, at *1.        This Calumet

  City transaction occurred in between the two drug transactions at

  issue in this case.     Id.    The Seventh Circuit ruled that evidence of

  the Calumet City transaction was properly admitted at trial under Rule

  404(b) to prove Petitioner's intent to distribute the drugs in his

  possession relating to the charges in this case.          The Seventh Circuit

  also found that the Calumet City transaction was similar enough and

  close enough in time to be relevant, and that there was sufficient

  evidence to support a jury finding that the Calumet City transaction

  occurred because the Government presented testimony at trial of

  Officer Marlon Parks, who purchased cocaine from Maclin while she was

  working undercover.     Id. In sum, the Seventh Circuit determined that

  the Calumet City transaction was properly admitted at trial, as a

  similar act, close in time, relevant, and supported by sufficient

  evidence that a jury could find that Petitioner committed that other

  act.     The Court will not now address an issue that has already been

  decided by the Seventh Circuit in Petitioner's direct appeal, and it

  must accept the decision of the appellate court as the law of the

  case.    Belford, 975 F.3d at 313; White v. United States, 371 F.3d 900,


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  902 (7th Cir. 2005) (applying the law of the case where claim had been

  presented in direct appeal in an Anders brief).

        The Calumet City transaction was also properly considered at

  Defendant's sentencing.          During the sentencing for drug offenses, the

  drug quantity for which the defendant is responsible is determined on

  the basis of all acts committed, aided, abetted, counseled, commanded,

  induced, or wilfully caused by a defendant that were part of the same

  course     of   conduct   or    common    scheme      or   plan   as   the     offense      of

  conviction.       (United States Sentencing Guidelines § 1B1.3.)

            Petitioner also raises a Blakely/Booker claim, and an Apprendi

  claim, arguing that the determination of drug quantity as a part of

  relevant conduct was improper.1               He complains that he was denied the

  right to have the drug quantity submitted to the jury and determined

  beyond     a    reasonable     doubt.    In    this   case,   however,        the      Court's

  conclusion regarding drug quantity was irrelevant to Petitioner's

  mandatory life sentence on Counts One and Two, because his sentence

  was   based     upon   the   determination        that     Petitioner        was   a   career

  offender.       See Pittman, 388 F.3d at 1108 (ruling drug quantity was



        1
        This Court has addressed Petitioner's Blakely/Booker claim
  on the merits because it is intertwined with his Apprendi claim.
  However, as set forth fully in this Court's order dated October
  1, 2004 (denying Petitioner's motion to amend his 2255 motion),
  because Petitioner's criminal case has long been final,
  Petitioner cannot pursue a Blakely/Booker claim until and unless
  the Supreme Court makes such claims retroactive to cases on
  collateral review. In re Dean, No. 04-13244, 2004 WL 1534788
  (11th Cir. July 9, 2004); see also Simpson v. United States, No.
  04-2700, 2004 WL 1636965 (7th Cir. July 16, 2004).

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  irrelevant to sentence where it was based not on that relevant

  conduct, but rather the determination that defendant was a career

  offender). The Government is correct in its assertion that Petitioner

  cannot demonstrate any prejudice because, by virtue of his prior

  convictions and the jury's guilty verdicts on Counts One and Two,

  Maclin received the mandatory life sentence.                  The concurrent sentence

  on   Count   Three       for   262    months   has   no    impact    on       the     length   of

  Petitioner's incarceration.

          Finally, as the Government argues, Petitioner faced a mandatory

  minimum sentence on Count Three of 20 years as a result of his two

  prior    drug     convictions.         (U.S.   Sentencing      Guidelines            §   4B1.1.)

  Petitioner received a sentence of 262 months (21.8 years). The slight

  increase     in    his    sentence     is   not    cognizable       in    a    section       2255

  proceeding.       Scott v. United States, 997 F.2d 340, 342-43 (7th Cir.

  1993) (finding "[w]hatever flaws there may have been in the district

  court's      method,      none       approaches      a    'complete       miscarriage          of

  justice.'").

          As law of the case, this Court is bound to follow the Seventh

  Circuit's opinion.             The federal sentencing guidelines furthermore

  establish the drug transaction in Calumet City, part of the same

  course of conduct or scheme as the offenses of conviction, was

  properly     considered        by    the   Court   in    determining      drug        quantity.

  Consequently, it was proper for the Court to consider the quantity of

  drugs     involved       in    the   Calumet   City       transaction         in     fashioning


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  Petitioner's sentence. The fact that Petitioner's counsel elected not

  to pursue this losing argument in her Anders brief does not constitute

  deficient performance under Strickland.



        Failure to Raise Entrapment on Appeal

        Petitioner also faults his sentencing/appellate attorney for not

  raising the defense of entrapment in his direct appeal.                Petitioner

  contends that he "was talked into delivering a substance by Adam

  Williams [co-defendant] and it was not any predisposition of his own

  volition." (2255 Pet., p. 3.)2 This allegation is devoid of analysis,

  explanation, and support.        Petitioner produces no evidence of the

  Government's alleged inducement or his own lack of predisposition.

  See United States v. Blassingame, 197 F.3d 271, 279 (7th Cir. 1999)

  (holding   that   as   a   prerequisite   for   presenting    to     the   jury   an

  entrapment defense, the defendant must show the Government induced him

  to commit the crime and the Defendant was not predisposed to commit

  the offense); United States v. Teague, 956 F.2d 1427, 1434 (7th Cir.

  1992).

        Petitioner fails to satisfy the test for establishing ineffective

  assistance of appellate counsel.      See Gray v. Greer, 800 F.2d 644, 646

  (7th Cir. 1986) (stating test is whether appellate counsel failed to


        2
        Maclin's convictions stem from two crack sales to a
  confidential informant in February and April 2001. Maclin, 2003
  WL 1827211, at *1. On both occasions, Maclin's co-defendant,
  Williams, negotiated the sale with the informant, and then Maclin
  made the deliveries. Id.

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  present    "significant     and    obvious"      issues    on    appeal).          Casting

  aspersions    on     counsel's    performance      without       also      offering      any

  "meaningful     legal    [or]     factual   arguments"          is     insufficient       to

  demonstrate    constitutionally       ineffective         assistance          of   counsel.

  United States v. Martinez, 169 F.3d 1049, 1053 (7th Cir. 1999).                          The

  Court need not address arguments that are undeveloped.                     United States

  v. Dawn, 129 F.3d 878, 881 n. 3 (7th Cir. 1997)).

          Even if this Court were to consider Petitioner's claim on the

  merits, it still fails.         As pointed out by the Government, it is well

  established that there can be no defense of entrapment by private

  citizens,    and     Petitioner    argues   it    was     his    co-defendant,          Adam

  Williams,     that    entrapped    him.       See,      e.g.,        United    States     v.

  Hollingsworth, 27 F.3d 1196, 1203 (7th Cir. 1994); United States v.

  Jones, 950 F.2d 1309, 1315 (7th Cir. 1991); United States v. Manzella,

  791 F.2d 1263, 1269 (7th Cir. 1986) ("Private entrapment is just

  another term for criminal solicitation . . . . The person who yields

  to the solicitation and commits the solicited crime is guilty of that

  crime.").     Further, Petitioner's two prior             drug-related convictions

  (See Information for Sentence dated September 4, 2001), and the

  unrelated drug transaction in Calumet City tend to show that, in fact,

  Petitioner was predisposed to commit the offenses charged in this

  case.     Once again, Petitioner's appellate counsel cannot be faulted

  for not presenting a failing argument on appeal.




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  The Court's Alleged Abuse of Discretion

        Petitioner contends that the Court impermissibly calculated the

  drug quantities for which he was responsible and erred in enhancing

  his sentence.     These claims are not appropriate for a section 2255

  motion.    Section 2255 petitions are not a substitute for a direct

  appeal. Petitioner had an opportunity to raise the alleged sentencing

  errors on direct appeal.       Without showing cause for his failure to

  raise them on direct appeal, and prejudice arising from that failure

  (which he has not done), Petitioner cannot pursue these claims now.

  McCleese, 75 F.3d at 1177; see also Scott, 997 F.2d at 342-43

  (concluding claims under the Guidelines are only cognizable in section

  2255 motions under "extraordinary circumstances"); Knight v. United

  States, 37 F.3d 769, 773 (1st Cir. 1994) (rejecting Guidelines-

  application-error claim in section 2255 proceeding where error did not

  risk producing "complete miscarriage of justice").                     Moreover, as

  previously    determined    with     regard   to     Petitioner's       ineffective

  assistance of appellate counsel claim, the Court properly calculated

  Petitioner's sentence in this case.



  Request For an Evidentiary Hearing

        Petitioner asks in his reply memorandum, for the first time, for

  an evidentiary hearing.      An evidentiary hearing need not be held for

  every section 2255 motion.      Liss v. United States, 915 F.2d 287, 290

  (7th Cir. 1990).    "No hearing is required in a section 2255 proceeding


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  if the motion raises no cognizable claim, if the allegations in the

  motion are unreasonably vague, conclusory, or incredible, or if the

  factual matters raised by the motion may be resolved on the record

  before the district court."      Oliver v. United States, 961 F.2d 1339,

  1343 n.5 (7th Cir. 1992) (citation omitted).           Because of his or her

  familiarity with the evidence presented at trial, the presiding judge

  is uniquely suited to determine whether a hearing on a section 2255

  motion is necessary.      Aleman v. United States, 878 F.2d 1009, 1012

  (7th Cir. 1989).

         Petitioner has failed to offer the Court any objective facts

  outside the trial record that would warrant an evidentiary hearing.

  Moreover, the Court has concluded that the record and history of this

  case    demonstrate   that   Petitioner     is   not   entitled        to   relief.

  Therefore, an evidentiary hearing is not warranted.                  See Cooper v.

  United States, 378 F.3d 638, 641-42 (7th Cir. 2004) (holding district

  court did not abuse its discretion in denying evidentiary hearing

  where defendant was not entitled to 2255 relief, and given lack of

  additional evidence from defendant).



  CONCLUSION

         For the reasons set forth above, the Petition Under 28 U.S.C. §

  2255 to Vacate, Set Aside, or Correct Sentence By a Person in Federal

  Custody is DENIED.      The Clerk is ORDERED to DISMISS this case WITH

  PREJUDICE.    The Clerk is FURTHER ORDERED to distribute a copy of this


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  order to Petitioner (Prisoner No. 06829-027) at the United States

  Penitentiary, P.O. Box 305, in Jonesville, Virginia 24263-0305, or to

  such   other   more   current   address       that   may   be   on   file   for   the

  Petitioner.



  DATED:   April 15, 2005              S/RUDY LOZANO, Judge
                                         United States District Court




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